Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 1 of 25 PageID #:794
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 2 of 25 PageID #:795
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 3 of 25 PageID #:796
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 4 of 25 PageID #:797
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 5 of 25 PageID #:798
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 6 of 25 PageID #:799
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 7 of 25 PageID #:800
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 8 of 25 PageID #:801
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 9 of 25 PageID #:802
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 10 of 25 PageID #:803
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 11 of 25 PageID #:804
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 12 of 25 PageID #:805
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 13 of 25 PageID #:806
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 14 of 25 PageID #:807
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 15 of 25 PageID #:808
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 16 of 25 PageID #:809
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 17 of 25 PageID #:810
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 18 of 25 PageID #:811
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 19 of 25 PageID #:812
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 20 of 25 PageID #:813
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 21 of 25 PageID #:814
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 22 of 25 PageID #:815
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 23 of 25 PageID #:816
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 24 of 25 PageID #:817
Case: 1:01-cr-00852 Document #: 230 Filed: 01/23/03 Page 25 of 25 PageID #:818
